    Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 1 of 89 Page ID
                                     #:21488


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                                    UNITED STATES DISTRICT COURT
13                         CENTRAL DISTRICT OF CALIFORNIA, WESTERN D IVISION

14
        JENNY LISETTE FLORES, et al.,                     )   Case No. CV 85-4544 DMG (AGRx)
15                                                        )
                 Plaintiffs,                              )
16      - vs -                                            )
17                                                        )   [REDACTED] EXHIBITS IN
        JEFFERSON B. SESSIONS, ATTORNEY GENERAL           )
                                                              SUPPORT OF PLAINTIFFS’
18      OF THE UNITED STATES, et al.,                     )
                                                          )   RESPONSE TO DEFENDANTS’
19               Defendants.                              )   FIRST JUVENILE COORDINATOR
                                                          )   REPORTS VOLUME 8 OF 12
20
                                                              [FILED UNDER SEAL PURSUANT
21                                                            TO ORDER OF THE COURT
22
                                                              DATED JULY 16, 2018]

23                                                            [HON. DOLLY M. GEE]
24                                                            Hearing: July 27, 2018
                                                              Time: 10 AM
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    Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 2 of 89 Page ID
                                     #:21489

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Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 3 of 89 Page ID
                                 #:21490
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 4 of 89 Page ID
                                 #:21491
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 5 of 89 Page ID
                                 #:21492
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 6 of 89 Page ID
                                 #:21493
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 7 of 89 Page ID
                                 #:21494
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 8 of 89 Page ID
                                 #:21495
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 9 of 89 Page ID
                                 #:21496
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 10 of 89 Page ID
                                 #:21497
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 11 of 89 Page ID
                                 #:21498




                          Exhibit 113
                                                                         662
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 12 of 89 Page ID
                                 #:21499




                                                                         663
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 13 of 89 Page ID
                                 #:21500




                                                                         664
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 14 of 89 Page ID
                                 #:21501




                          Exhibit 114
                                                                         665
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 15 of 89 Page ID
                                 #:21502




                                                                         666
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 16 of 89 Page ID
                                 #:21503




                                                                         667
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 17 of 89 Page ID
                                 #:21504




                          Exhibit 115
                                                                         668
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 18 of 89 Page ID
                                 #:21505




                                                                         669
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 19 of 89 Page ID
                                 #:21506




                                                                          670
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 20 of 89 Page ID
                                 #:21507




                          Exhibit 116
                                                                         671
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 21 of 89 Page ID
                                 #:21508




                                                                         672
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 22 of 89 Page ID
                                 #:21509




                                                                         673
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 23 of 89 Page ID
                                 #:21510




                          Exhibit 117
                                                                         674
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 24 of 89 Page ID
                                 #:21511




                                                                          675
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 25 of 89 Page ID
                                 #:21512




                                                                         676
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 26 of 89 Page ID
                                 #:21513




                          Exhibit 118
                                                                         677
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 27 of 89 Page ID
                                 #:21514




                                                                         678
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 28 of 89 Page ID
                                 #:21515




                                                                          679
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 29 of 89 Page ID
                                 #:21516




                          Exhibit 119
                                                                         680
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 30 of 89 Page ID
                                 #:21517




                                                                         681
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 31 of 89 Page ID
                                 #:21518




                                                                         682
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 32 of 89 Page ID
                                 #:21519




                          Exhibit 120
                                                                         683
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 33 of 89 Page ID
                                 #:21520




                                                                        684
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 34 of 89 Page ID
                                 #:21521




                                                                        685
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 35 of 89 Page ID
                                 #:21522




                          Exhibit 121
                                                                         686
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 36 of 89 Page ID
                                 #:21523




                                                                         687
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 37 of 89 Page ID
                                 #:21524




                                                                         688
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 38 of 89 Page ID
                                 #:21525




                          Exhibit 122
                                                                         689
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 39 of 89 Page ID
                                 #:21526




                                                                         690
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 40 of 89 Page ID
                                 #:21527




                                                                         691
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 41 of 89 Page ID
                                 #:21528




                          Exhibit 123
                                                                         692
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 42 of 89 Page ID
                                 #:21529




                                                                        693
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 43 of 89 Page ID
                                 #:21530




                                                                        694
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 44 of 89 Page ID
                                 #:21531




                          Exhibit 124
                                                                         695
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 45 of 89 Page ID
                                 #:21532




                                                                        696
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 46 of 89 Page ID
                                 #:21533




                                                                        697
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 47 of 89 Page ID
                                 #:21534




                          Exhibit 125
                                                                         698
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 48 of 89 Page ID
                                 #:21535




                                                                        699
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 49 of 89 Page ID
                                 #:21536




                                                                        700
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 50 of 89 Page ID
                                 #:21537




                          Exhibit 126
                                                                         701
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 51 of 89 Page ID
                                 #:21538




                                                                        702
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 52 of 89 Page ID
                                 #:21539




                                                                        703
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 53 of 89 Page ID
                                 #:21540




                          Exhibit 127
                                                                         704
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 54 of 89 Page ID
                                 #:21541




                                                                         705
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 55 of 89 Page ID
                                 #:21542




                                                                         706
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 56 of 89 Page ID
                                 #:21543




                                                                         707
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 57 of 89 Page ID
                                 #:21544




                          Exhibit 128
                                                                         708
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 58 of 89 Page ID
                                 #:21545




                                                                        709
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 59 of 89 Page ID
                                 #:21546




                                                                        710
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 60 of 89 Page ID
                                 #:21547




                          Exhibit 129
                                                                         711
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 61 of 89 Page ID
                                 #:21548




                                                                         712
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 62 of 89 Page ID
                                 #:21549




                                                                         713
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 63 of 89 Page ID
                                 #:21550




                                                                         714
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 64 of 89 Page ID
                                 #:21551




                                                                         715
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 65 of 89 Page ID
                                 #:21552




                          Exhibit 130
                                                                         716
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 66 of 89 Page ID
                                 #:21553




                                                                         717
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 67 of 89 Page ID
                                 #:21554




                                                                         718
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 68 of 89 Page ID
                                 #:21555




                                                                         719
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 69 of 89 Page ID
                                 #:21556




                                                                         720
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 70 of 89 Page ID
                                 #:21557




                          Exhibit 131
                                                                         721
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 71 of 89 Page ID
                                 #:21558




                                                                         722
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 72 of 89 Page ID
                                 #:21559




                                                                         723
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 73 of 89 Page ID
                                 #:21560




                                                                         724
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 74 of 89 Page ID
                                 #:21561




                          Exhibit 132
                                                                         725
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 75 of 89 Page ID
                                 #:21562




                                                                         726
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 76 of 89 Page ID
                                 #:21563




                                                                         727
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 77 of 89 Page ID
                                 #:21564




                          Exhibit 133
                                                                         728
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 78 of 89 Page ID
                                 #:21565




                                                                         729
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 79 of 89 Page ID
                                 #:21566




                                                                         730
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 80 of 89 Page ID
                                 #:21567




                                                                         731
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 81 of 89 Page ID
                                 #:21568




                          Exhibit 134
                                                                         732
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 82 of 89 Page ID
                                 #:21569




                                                                         733
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 83 of 89 Page ID
                                 #:21570




                                                                         734
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 84 of 89 Page ID
                                 #:21571




                                                                         735
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 85 of 89 Page ID
                                 #:21572




                          Exhibit 135
                                                                         736
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 86 of 89 Page ID
                                 #:21573




                                                                         737
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 87 of 89 Page ID
                                 #:21574




                                                                         738
Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 88 of 89 Page ID
                                 #:21575




                                                                         739
    Case 2:85-cv-04544-DMG-AGR Document 462-8 Filed 07/19/18 Page 89 of 89 Page ID
                                     #:21576

                                        CERTIFICATE OF SERVICE
1
              I, Peter Schey, declare and say as follows:
2

3             I am over the age of eighteen years of age and am a party to this action. I am
4
        employed in the County of Los Angeles, State of California. My business address is
5
        256 S. Occidental Blvd., Los Angeles, CA 90057, in said county and state.
6

7             On July 19, 2018, I electronically filed the following document(s):
8
           • [REDACTED] EXHIBITS IN SUPPORT OF PLAINTIFFS’ RESPONSE TO
9            DEFENDANTS’ THIRD JUVENILE COORDINATOR REPORTS VOLUME
10           8 OF 12 [FILED UNDER SEAL PURSUANT TO ORDER OF THE
             COURT DATED JULY 16, 2018]
11

12      with the United States District Court, Central District of California by using the
13      CM/ECF system. Participants in the case who are registered CM/ECF users will be
14
        served by the CM/ECF system.
15

16                                                   /s/Peter Schey
17                                                   Attorney for Plaintiffs

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